

















IN THE COURT OF CRIMINAL APPEALS


OF TEXAS






NO. WR-79,830-02






EX PARTE VERNON ODELL TAYLOR, JR., Applicant








ON APPLICATION FOR A WRIT OF HABEAS CORPUS


CAUSE NO. CR07716B IN THE 220th DISTRICT COURT


FROM HAMILTON COUNTY






	Per curiam.


O P I N I O N



	Pursuant to the provisions of Article 11.07 of the Texas Code of Criminal Procedure, the
clerk of the trial court transmitted to this Court this application for a writ of habeas corpus.  Ex parte
Young, 418 S.W.2d 824, 826 (Tex. Crim. App. 1967).  Applicant was convicted of delivery of
marihuana and sentenced to two years' imprisonment in state jail. 

	Applicant contends that he was denied the opportunity to appeal his conviction due to
circumstances outside of his control and he requests an out-of-time appeal.  

	The trial court has determined that, due to being transported between jails, receiving incorrect
information about where to file a notice of appeal, and not being represented by counsel, Applicant
did not timely file his pro se notice of appeal.  We find that Applicant is entitled to the opportunity
to file an out-of-time appeal of the judgment of conviction in Cause No. CR07716B from the 220th
District Court of Hamilton County.  Applicant is ordered returned to that time at which he may give
a written notice of appeal so that he may then, with the aid of counsel, obtain a meaningful appeal. 
Within ten days of the issuance of this opinion, the trial court shall determine whether Applicant is
indigent.  If Applicant is indigent and wishes to be represented by counsel, the trial court shall
immediately appoint an attorney to represent Applicant on direct appeal.  All time limits shall be
calculated as if the sentence had been imposed on the date on which the mandate of this Court issues. 
We hold that, should Applicant desire to prosecute an appeal, he must take affirmative steps to file
a written notice of appeal in the trial court within 30 days after the mandate of this Court issues.

	Copies of this opinion shall be sent to the Texas Department of Criminal Justice-Correctional
Institutions Division and Pardons and Paroles Division. 


Delivered: December 18, 2013

Do not publish


